Exhibit 2A
                                                                                                          RAK0001082




                                                                               RAK Project Update
 Executive Summary:
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   March 26, 2015                                                                                                                                                                                                                  Page 1




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In the US, KM's hired a team of advisors managed by Farhad Azima (FA) in order
to spread allegations against our client. The main allegations against the client
are on human rights issues and in particular the allegation that RAK uses a
dedicated facility in RAK where it imprisons and torture political opponents.
FA, who might also be responsible for paying the US team, handles all KM's
activities in the US. KM's lawyer in the US, Kirby D. Behre, hired a consultant,
who is a former WSJ reporter, named Christopher Cooper, who due to his good
contacts. Cooper approached a British reporter named Simon Goodly of The
Guardian and briefed him on the RAK torture allegations, in order to raise
public opinion against RAK and to harness international civil rights
organizations to the subject.
According to our source, FA also hired a private investigator from Northern
Virginia name 'Joseph Aboud', an American - Egyptian who seems to have
SIGINT capabilities, and probably managed to get access to the client's Email
traffic. We couldn't verify until now the identity and capabilities of Aboud, but
we are working on it.
Our sources have reported that KM's team suspects that they have an
information leak since they noticed some of RAK's actions in the last few months.
They believe that the client is having someone monitor their activities either
electronically or in other methods.




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KM efforts against the client
FA and the US Advisory Team
In continuation to our previous report, we were informed by several new
sources that FA is managing KM's efforts in the US and perhaps even paying their
bills.
At the moment, KM's strategy in the US is to spread human rights violations
allegations against the client. In particular the allegations focus on the notion
that RAK uses a dedicated facility in RAK where it imprisons and torture political
opponents. According to KM, the main figure assisting our client to cover this
alleged activity is Niel Gerard, a partner in Dechert LLP (London) law firm.
Additionally, KM claims that the reach of RAK's No. 1 is also away from RAK,
claiming that the client recently got a Jon Doe locked up in the Republic of
Georgia upon his request.
According to our sources KM's US lawyer, Kirby D. Behre1 (US first tier
commercial litigator from Washington D.C.), hired a consultant
named Christopher Cooper,2 formerly a reporter for the WSJ and currently the
owner of 'Potomac Square Group',3 an independent consultancy that provides
public affairs and government relations counsel.




Christopher Cooper


1 http·/lwww millerchcvalicr com/OnrPcopJc/l<ichyDBehre · Behre, In the professional level, is a leading litigator deals
mainly with white collar investigations, represents companies and individuals in complex business litigation, government
and internal Investigations, criminal prosecutions and regulatory matters worldwide.
2   bt111s·//www Hnkedin com[i>uh/cbcis1ophcr-coopcr/18/S25/SS9
3   https·//Jmbraiuwatch ore /pr{1mtomac-square-group.php

March 26, 2015                                                                                                 Page 3




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Cooper, due to his good contacts, has approached a British reporter named
Simon Goodly who works for The Guardian and briefed him on the RAK torture
allegations, in order to raise public opinion against RAK and to harness
international civil rights organizations to the subject.




Simon Goodly
Goodly showed interest in the subject, although the story does not have at this
point any evidence but only hearsay and testimonies. One of the main
testimonies they rely upon was given by the wife of a person who is allegedly
jailed in RAK named Karam (it is probably Karam Al Sadeq, who was RAKIA's
in-house counsel and is in for almost a year) 4.
In addition, Christopher Cooper is already in touch with several organizations
such as Amnesty and others that allegedly already showed interest in the subject.
The KM team main angle is that RAK's uses Niel Gerard 5 to cover up the alleged
torture activities. According to our sources, Goodly set a meeting with Gerard,
but the later canceled in the last minute.
Both FA and KM are concerned regarding several arrests made by the RAK
authorities. They are looking to check for INTEROL's red notice against people in
KM's inner cycle.
Moreover, it is apparent that FA has hired an investigator from Northern Virginia
name 'Joseph Aboud', an American - Egyptian who seems to have SIGINT
capabilities, and probably managed to get access to the client's Email traffic.
KM's team suspects that they have an information leak. They are afraid that the
client is well aware regarding their activities.


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4   http://www.zoominfo.com/p/Karam-Al%20Sadeq/1930560353
5 http://www.dechert.com/nei1..9errard/


March 26, 2015                                                                Page 4




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                   March 26, 2015                                                                                                                                                                                                                                     Page 5




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          March 26, 2015                                                                                                                                                          Page 6




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   March 26, 2015                                                                                                                                                                                                                                   Page 11




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   Summary, Conclusion and Queries                                                                                                                                                                                      ,_,_,_, .. , _,_,_,_ ,_,_
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    As we reported above, KM's US team has a certain plan to smear RAK and its
    ruler with human right allegations. As far as we know, at this point, they do not
     have any evidenc e to back up these allegations, but they started gatherin g
     informa tion for a campaign, based on hearsay and testimon ies, and started
     searchin g for a platform to make it public. The campaign is not pubiic yet, so we
     will be able to gather intelligence on their progress in order to monitor their
     activities and attempt to contain or ruin their plans.
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        March 26, 2015                                                                                                                                                                                                                                                                                     Page 17




                                                                                                                                                                    -112-
From:          Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:          21 April 2016 14:10
To:            Caroline Timberlake
Subject:       Re: Bike to Dechert LLP


Hi Caroline

That's all booked in for you.

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

Click here to follow us on Linkedin


     I/)
     APEX
This email is confidential. If you are not the intended addressee, you should not read the contents of this email,
disclose them to any other person or use them in any way. Please delete this email from your system and notify the
sender immediately. Thank you for your understanding.



On 21 April 2016 at 14:02 Caroline Timberlake wrote:


Howdo Jignesh, need another bike to Decherts this afternoon please:




Pick up:          Page Group Ltd, 1 Catherine Place, 2nd Floor, SW1E 6DX




Deliver to :      Nei l Gerrard, 160 Queen Victoria Street, EC4V 4QQ - tel: +44 20 7184 7527 Direct/ +44 20 7184 7000 Main




Cheers

C




From: Jignesh Shah [mailto:jignesh.shah@apexcouriers.co.uk]
Sent: 14 April 2016 11:56
To: Caroline Timberlake
Subject: RE: Bike to Dechert LLP




Hi Caroline

I am pleased to confirm this was delivered at 1127 and signed for by 'POST JUNIOR'
                                                                                                                       53
                                                            -113-
Great to have you on board.

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

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                       APEX
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this email, disclose them to any other person or use them in any way. Please delete this email from
your system and notify the sender immediately. Thank you for your understanding.



On 14 April 2016 at 11 :02 Caroline Timberlake <CTimberlake@pagegroupltd.com> wrote:

Many thanks Jignesh, bike already been and picked up.




Cheers

C




From: Jignesh Shah [mailto:jignesh.shah@apexcouriers.co.uk]
Sent: 14 April 2016 10:51
To: Caroline Timberlake <CTimberlake@pagegroupltd.com>
Subject: Bike to Dechert LLP




Hi Caroline

I am pleased to confirm your bike is booked in and your document should be collected in the next 90 minutes.

This will be £15 all in.

Thank you for choosing Apex.

                                                                                                               54
                                                          -114-
Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

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                                                -115-
From:         Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:         10 May 2016 11:04
To:           Caroline Timberlake
Subject:      Re: Bike to Dechert LLP


Hi Caroline

I am well. Hope you are too.

Bike should be with you in 30 next minutes.

Thank you for choosing Apex!

Kind Regards

Jignesh Shah .

Tel: +44 207 041 9427

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     ti)
     APEX ·
This email is confidential. If you are not the intended addressee, you should not read the contents of this email,
disclose them to any other person or use them in any way. Please delete this email from your system and notify the
sender immediately. Thank you for your understanding.



On 10 May 2016 at 10:59 Caroline Timberlake wrote:


Howdo Jignesh, need another bike to Decherts today please:




Pick up:          Page Group Ltd, 1 Catherine Place, 2nd Floor, SWlE 6DX




Deliver to:       Neil Gerrard, 160 Queen Victoria Street, EC4V 4QQ- tel: +44 20 7184 7527 Direct/ +44 20 7184 7000 Main




Many thanks.




Cheers

C




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From:          Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:          05 July 2016 11:56
To:            Caroline Timberlake
Subject:       Re: Brussels and UK same day please


Hi Caroline

The bike is booked in for you. Email you the label for Belgium very shortly.

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

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     I/)
    APEX
This email is confidential. If you are not the intended addressee, you should not read the contents of this email,
disclose them to any other person or use them in any way. Please delete this email from your system and notify the
sender immediately. Thank you for your understanding.



On 05 July 2016 at 11:47 Caroline Timberlake wrote:


Howdo Jignesh, hope alls well. I have been away for a couple of weeks enjoying myself in the US of A (very glad I
wasn 't around for the EU referendum crap!!). Please see below, one for Brussels and one for Decherts for this
afternoon please.



Many thanks.

Kind regards,

Caroline



A4 Envelope 1kg to :



European External Action Service,

Field Security Division - MOR Bl (EEAS CORT 02/515),

For the attention of Mr Peter Cavendish,

9A Rond Point Schuman,

1046 Brussels

                                                                                                             57
                                                        -117-
Belgium



Ref: May June Inv



Tel +3225843203




And same day to the usual place please:



Pick up:        Page Group Ltd, 1 Catherine Place, 2nd Floor, SWlE 6DX

 Deliver to:   Nei l Gerrard, 160 Queen Victoria Street, EC4V 4QQ - tel: +44 20 7184 7527 Direct/ +44 20 7184 7000 Main




Many thanks.

Cheers

C




                                                                                                                    58
                                                        -118-
From:         Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:         16 September 2016 11 :51
To:           Caroline Timberlake
Subject:      Re: London pick up and delivery asap


Hi Caroline

No worries. Should be with you in the next hour .

. Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

Click here to follow us on Linkedin


     I!)
     APEX
 This email is confidential. If you are not the intended addressee, you should not read the contents of this email,
 disclose them to any other person or use them in any way. Please delete this email from your system and notify the
 sender immediately. Thank you for your understanding.



 On 16 September 2016 at 11:42 Caroline Timberlake wrote:


 Howdo Jignesh,

 Need pick up and delivery in London asap if possible

 Pick up: 1 Catherine Place, 2nd Floor, SWlE 6DX

 Delivery 1: A4 envelope; 1kg

 Neil Gerrard
 Partner

 Dechert LLP
 +44 20 7184 7672 Direct
 +44 7506 910 526 Mobile

 Cheers

 C




                                                                                                              59
                                                        -119-
From:          Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:          21 September201613:31
To:            Caroline Timberlake
Cc:            customer.services@apexcouriers.co. uk
Subject:       Re: London pick up and delivery asap


Thanks, Caroline.

A rider should be with you in 60 ruins.

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427


     I/)
    APEX
I am running this year's Royal Parks Half Marathon for World Child Cancer. My fundraising pledge could
pay for a life-saving dose of chemotherapy for 7 children with cancer in Ghana. To donate, please visit my
fundraising page here.
This email is confidential. If you are not the intended addressee, you should not read the contents of this email, disclose them to
any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding.




On 21 September 2016 at 13:22 Caroline Timberlake wrote:


Howdo Jignesh/Shane

 Need pick up and delivery in London asap:

 Pick up: 1 Catherine Place, 2nd Floor, SW1E 6DX

 Delivery 1: A4 envelope; 1kg

Neil Gerrard
Partner

Decherts

160 Queen Victoria Street

London EC4V 4QQ
Dechert LLP
+44 20 7184 7672 Direct
+44 7506 910 526 Mobile

Many thanks.

Cheers

C
                                                                                                                             60
                                                              -120-
From:          Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:          27 September 2016 15:10
To:            Caroline Timberlake
Subject:       Re: London pick up and delivery asap


Hi Caroline

This is booked in for you. Collection within 60 minutes.

Kind Regards

Jignesh Shah
0207 041 9427

On 27 Sep 2016, at 15:02, Caroline Timberlake <CTimberlake@pagegroupltd.com> wrote:


Howdo Jignesh/Shane

Need pick up and delivery in London before 5pm please

Pick up: 1 Catherine Place, 2nd Floor, SWlE 6DX

Delivery 1: A4 envelope; 1kg

Neil Gerrard
Partner

Decherts

160 Queen Victoria Street

London EC4V 4QQ
Dechert LLP
+44 20 7184 7672 Direct
+44 7506 910 526 Mobile

Many thanks.

Cheers

C




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                                                           -121-
From:           Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:           10 October 2016 13:41
To:             Caroline Timberlake
Subject:        Re: London pick up and delivery x 2


Hi Caroline

All good with me. Hope you're well? These are booked in to be collected in the next hour for you.

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427


    ~
    APEX
I am running this year's Royal Parks Half Marathon in support of World Child Cancer. Did you know for
just £4 they could provide a child with life saving chemotherapy? To make a small contribution, feel free to
visit my fundraising page here.
This email is confidential. If you are not the intended addressee, you should not read the contents of this email, disclose them to
any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding.




On 10 October 2016 at 13 :26 Caroline Timberlake wrote:


Howdo Jignesh/Shane

Need pick up and delivery in London by end of today please :

Pick up: 1 Catherine Place, 2nd Floor, SWlE 6DX

 Delivery 1: A4 envelope; 1kg

Neil Gerra rd
Partner

Decherts

160 Queen Vict oria Street

London EC4V 4QQ
Dechert LLP
+44 20 7184 7672 Direct
+44 7506 910 526 Mobile

AND

 Delivery 2: A4 envelope; .Skg

F.A.O.: JAMES SMITH
Strictly Private & Confidential
                                                                                                                             62
                                                              -122-
c/o Hyatt Regency London - The Churchill
30 Portman Square
London
England
WlH 7BH
Tel: +44 (0) 20 7486 5800

Many thanks.

Cheers

C




                                                   63
                                           -123-
From:        Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:        21 October 2016 11:07
To:          Caroline Timberlake
Subject:     Re: Urgent London pick up and delivery


Hey Caroline

This is booked in for you. Delivery by Noon is going to be really tough but I will see what can be done.

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427


       ti)
       APEX
I am running this year's Royal Parks Half Marathon in support of World Child Cancer. Did you know for just £4 they could
provide a child with life saving chemotherapy? To make a small contribution, feel free to visit my fundraising page here.

This email is confidential. If you are not the intended addressee, you should not read the contents of this email, disclose them to
any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding.




On 21 October 2016 at 10:51 Caroline Timberlake wrote:




Happy Friday Gents, cou ld I get a bike asap pretty please, needs delivering before M IDDAY if at all possible.

a4 envelope; 0.5kg; docs

 To:

NEIL GERRARD

Dechert LLP
160 Queen Victoria Street
London EC4V 4QQ

+44 20 7184 7672 Direct

+44 7506 910 526 Mobile
+44 20 7184 7000 Main

 Many thanks.

Cheers

C




                                                                                                                             64
                                                              -124-
From:          Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:          02 December 2016 09:54
To:            Caroline Timberlake
Subject:       Re: London pick up and delivery


Hi Caroline

Happy Friday!

Will have someone with you in the next hour.

Kind Regards

Jignesh Shah

Tel : .+ 44 207 041 9427


    ti)
    APEX
Please note our new address is Suite 4 Joanna House, 34 Central Road, Worcester Park, KT4 BXZ

This email is confidential. If you are not the intended addressee, you should not read the contents of this email, disclose them to
any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding.




On 02 December 2016 at 09:45 Caroline Timberlake wrote:


Howdo,

 Need pick up and delivery in London by 2pm today please:

 Pick up: 1 Catherine Place, 2nd Floor, SWlE 6DX

 Delivery 1: A4 envelope; 1kg

Neil Gerrard
Partner

Decherts

160 Queen Victoria Street

London EC4V 4QQ
Dechert LLP
+44 20 7184 7672 Direct



Many thanks.

Cheers

C


                                                                                                                             65
                                                              -125-
From:          Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:          12 December 2016 15:25
To:            Caroline Timberlake
Subject:       Re: London pick up and delivery


Hey Caroline

That's all booked in for you. Someone will be with you in the next 60-90 minutes.

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427


     I!)
    APEX
Please note our new address is Suite 4 Joanna House, 34 Central Road, Worcester Park, KT4 8XZ

This email is confidential. If you are not the intended addressee, you should not read the contents of this email, disclose them to
any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding·.
On 12 December 2016 at 15:19 Caroline Timberlake wrote:


Howdo,

 Need pick up and delivery in London this afternoon please:


 Pick up: 1 Catherine Place, 2nd Floor, SW1E 6DX

 Delivery 1: A4 envelope; 0.2kg

Neil Gerrard
Partner

Decherts

160 Queen Victoria Street

London EC4V 4QQ
Dechert LLP
+44 20 7184 7672 Direct



Many thanks.

Cheers

C




                                                                                                                             66
                                                              -126-
From:          Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:          21 December 2016 14: 12
To:            Caroline Timberlake
Subject:       Re: London pick up and delivery


Hi Caroline

That's booked in to be collected in the next hour for you!

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

Do have a look at our short introductory video!



    ~
    APEX
This email is confidential. If you are not the intended addressee, you should not read the contents of this email, disclose them to
any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding.
On 21 December 2016 at 14:08 Caroline Timberlake wrote:


Howdo,

Need pick up and delivery in London this afternoon please, before 4.30pm if poss please.

Pick up: 1 Catherine Place, 2nd Floor, SWlE 6DX

 Delivery: A4 sized box; 6cm wide approx. ; 2kg

Neil Gerrard
Partner

Decherts

160 Queen Victoria Street

London EC4V 4QQ
Dechert LLP
+44 20 7184 7672 Direct



Many thanks.

Cheers

C




                                                                                                                             67
                                                              -127-
 From:          Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
 Sent:          21 December 2016 16:11
 To:            Caroline Timberlake
 Subject:       Re: ANOTHER urgent London pick up and delivery


 Its booked! Can't guarentee timings but will do our best.

 Kind Regards

 Jignesh Shah

 Tel: +44 207 041 9427

 Do have a look at our short introductory video!


      I/)
      APEX
  This email is confidential. If you are not the intended addressee, you should not read the contents of this email, disclose them to
  any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
· you for your understanding.
 On 21 December 2016 at 16:07 Caroline Timberlake wrote:


 Thanks Jignesh, good to talk to you earlier.




 Afraid need another pick up this afternoon to go to Dechert's again, is that possible please.




 A4 Envelope; 0.3 kg; Document

 Neil Gerrard
 Partner

 Decherts

 160 Queen Victoria Street

 London EC4V 4QQ
 Dechert LLP
 +44 20 7184 7672 Direct




 Cheers

 C




 From: Jignesh Shah [mailto:jignesh.shah@apexcouriers.co.uk]
 Sent: 21 December 2016 14:12
 To: Caroline Timberlake
 Subject: Re: London pick up and delivery

                                                                                                                               68
                                                                -128-
Hi Caroline

That1s booked in to be collected in the next hour for you!

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

Do have a look at our short introductory video!




                    APEX
This email is confidential. If you are not the intended addressee, you should not read the contents of this email, disclose them to
any other person or use them in any way. Please delete this email from your system and notify the sender immediately. Thank
you for your understanding.
On 21 December 2016 at 14:08 Caroline Timberlake <CTimberlake@pagegroupltd.com> wrote:

Howdo,

 Need pick up and delivery in London this afternoon please, before 4.30pm if poss please.


 Pick up: 1 Catherine Place, 2nd Floor, SWlE 6DX

 Delivery: A4 sized box; 6cm wide approx. ; 2kg

Neil Gerrard
Partner

Decherts

 160 Queen Victoria Street

 London EC4V 4QQ
 Dechert LLP
 +44 20 7184 7672 Direct


Many thanks.

Cheers

                                                                                                                             69
                                                              -129-
From:        Jignesh Shah <jignesh.shah@apexcouriers.co.uk>
Sent:        13 February 2017 16:00
To:          Caroline Timberlake; Shane Hawke
Subject:     Re: UK delivery
Attachments: Page group UK 130217.pdf


Hey Caroline

This is booked in for you. Page 1 on the package and page 2 to the driver please.

Have a nice evening!

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427



On 13 February 2017 at 15:48 Caroline Timberlake wrote:


Howdo, need UK delivery please, needs to be there tomonow morning if possible please



A4 envelope, docs; 0.5kg



NEIL GERRARD

HUNTERS FARM

NUTLEY

EAST SUSSEX

TN22 3LS



Tel: +44 7506 910 526



Cheers

C




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D0'~'~'~,~~.~~,5,,.~~-:00                          DO                    E:.Z,,HL=
F,om: PAGE GROUP LTD                                                           Origin:
        ~~~NEe1:::~e 02019309200                                               LQ N
        2NOFLOOR
        SW 1E 60X LONDON
        GB United Kingdom


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    HUNTERS FARM                                                             01soe91os2a


   TN22 3LS NUTLEY
 L GB United Kingdom                                                                       .J
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Account No 417414782
Ref code PAG007                                                         0.50 kg 1 / 1
DOCUMENT




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                                                                                                  -131-
From:        Jignesh Shah <j ignesh.shah@apexcouriers.co. uk>
Sent:        17 February 2017 15 :51
To:          Caroline Timberlake
Subject:     Re: UK delivery
Attachments: Page Group SAturday delivery Nutley 170217.pdf


Hey Caroline

This is booked in for collection today for you. The label is attached.

Have a nice weekend!

Kind Regards

Jignesh Shah

Tel: +44 207 041 9427

Mob: 07530 848242



On 17 February 2017 at 15:26 Caroline Timberlake wrote:


Howdo, another UK delivery please, needs to be there tomorrow morning if possible please

A4 envelope, docs; 0.5kg

NEIL GERRARD

HUNTERS FARM

NUTLEY

EAST SUSSEX

TN22 3LS

Tel: +44 7506 910 526

Cheers

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v,
Caroline Timberlake

From:                           Eurostar International Ltd.<noreply@e.eurostar.com>
Sent:                           22 November 2019 12:13
To:                             Stuart Page
Subject:                        Your Eurostar Ticket



View in browser.




                           Your Eurostar tickets
                                              Tickets for 1 passenger

                                          Booking reference: SRZJSJ




       So we know you're t hrough, each barcode must be scanned individually at the ticket gat es.
                                                   Bon voyage!




      STUART PAGE




                   London St Pancras lnt'I to Paris Gare Du Nord

                   01/12/2019                                                    STUART PAGE


                                                                 08:19                    11:47


                                                                         Train no: 9010



                                                                        Coach 16 Seat 15


                                                                   Ticket no. 815319971




                                                       -134-
Caroline Timberlake

From:                           meir Chikvashvili <meir@mona.co.il>
Sent:                           28 November 2019 17:34
To:                             Caroline Timberlake
Subject:                        FW: Your booking confirmation. Transaction Id 092061361679
Attachments:                    QMNFEL_Basel S88_01 -Dec-2019_Ticket1 .pdf; 525820292_Bern Hbf_01 -Dec-2019
                                _Ticketl .pdf; 525820372_Basel S88_04-Dec-2019_Ticket1 .pdf; QMNFCH_Paris Gare
                                de Lyon_04-Dec-2019_Ticket1 .pdf




From : Trainline [mailto:auto-confirm@info.thetrainline.com]
Se nt: Thursday, November 28, 2019 7:23 PM
To: meir Chikvashvili
Subje ct: Your booking confirmation. Transaction Id 092061361679




            Your trips to Basel SBB, Bern Hbf and to Paris Gare de Lyon are confirmed



                                            LJ -----·-----




                               Keep your etickets handy in our app
                     All your tickets in one place, and manage your bookings in an instant.




                                                Booking 1




                                                                                                                 75
                                                     -135-
                Alternatively, you can show the attached etickets on your phone.



                                      I ickel PNI~ reference


                                  QM N FEL

                                              [BJ
                         You'll need to carry a valid   101111   of ID to travel.


D                                                                                             □

    Outbound Sunday December 1, 12:55
0                                                                                             D

         03h 14m, 1 change


             1 :4 5 · A1 r 1ve dt lec1st 10 m1ns he fore departure

         [iJ 12:55 Paris Gare de l'Est
                         SNCF TGV INOUI 2421

                   □;    Carriage 13: Solo seat 7 1 Solo seat


         [iJ 14:41 Strasbourg

         Change, 10 minutes transfe r time

         □    14:51 Strasbourg
                         SNCF TER 96223

                         Sit in any vacant unreserved seat including first class


         [iJ 16:09 Basel SBB


    [o)pAGE STUART ROBERT PAGE
    PREMIERE
    Tickets are exchangeable and refundable up to 30 days before departure for a €5 fee,
    which increases to €15 from two days before until the day of departure. From 30
    minutes before the train departs, ticket can be changed up to two times for the same
    day and the same journey, and is non-refundable once exchanged. Any difference in
    price between the old and the new ticket will be added to this fee. Tickets will not be
    exchangeable or refundable after departure.
D                                                                                             □

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                                                                                                  76
                                              -136-
                                          Booking 2



                                         1 □ ~-- -1

         Simply show the attached eTickets on your phone, or view them in our app.



                                      f ickot PNI~ reference


                             5 2 582 0 29 2

                                               [ill
                        You'll need to carry a vc1l1d frn m of II) to travel.



□                                                                                    D


    Outbound Sunday December 1, 16:31
D                                                                                    0
        53m, 0 changes


           1 :21 Ar11ve al         least 10 rnins before departure


        [u 16:31 Basel SBB
                        CFF IC 1079

                        Sit in any vacant unreserved seat including first class


        □ 17:24 Bern Hbf


    [GJ)pAGESTUART ROBERT PAGE
    Supersaver ticket
    Non-exchangeable and non-refundable.
D                                                                                    □




                                                  3



                                                                                         77
                                               -137-
                                        Booking 3




                                        □
         Simply show the attached eTickets on your phone, or view them in our app.



                                    ·r icket PNf{   rnf Ptence


                            5258 2 0372

                                             [ill
                       You'll need to carry a valid fo1111 of ID to travel.



□                                                                                    D


    Outbound Wednesday December 4, 13:04
D                                                                                    D

        55m, 0 changes


           12:54 Arrive at least ·10 mins before deparlure

        [a 13:04 Bern Hbf
                       CFF EC 6

                       Sit in any vacant unreserved seat including first class


        [j] 13:59 Basel SBB


    [ulpAGESTUART ROBERT PAGE
    Supersaver ticket
    Non-exchangeable and non-refundable.
D                                                                                    D




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                                             -138-
                                          Booking


                A lternatively, you can show the attached etickets on your phone.



                                      Ticl~et PNR reference


                                  QM NFC H

                                               [BJ
                         You'll need to carry a valid form of ID to travel.


a                                                                                             D


    Outbound Wednesday December 4, 14:34
D                                                                                             D
         03h 03m, 0 changes


            1 :2        A111ve at least 10 rni11s before departure

         [j] 14:34 Basel SBB
                         TGV Lyria 9222


                   □     Carriage 12: 34 Window


         [jJ 17:37 Paris Gare de Lyon



    W]f AGESTUART ROBERT PAGE
    Gamme RIT Lyria
    More spacious seats, Electrical socket. In-seat restaurant service (subject to charge).
□                                                                                             D




                                 Manage your bookings
                           •   Save payment details for faster bookings
                           •   Make, change and refund bookings easily
                           •   A ll your tickets in one place



                                                 s

                                                                                                  79
                                               -139-
                    ILogin to manage your booking I
                    Some tickets are not changeable or refundable




                          Payment information


Transaction ID:                                                       092061361679

Transaction Date:                                               28 November 2019

Card Type:                                                                          Visa

Card Number:                                                        ****   HU   **** 1004


Fare details

Booking 1


1 x Adult

1 x Adult

Total Fare:                                                                      $195 .78


Booking 2


1 x Adult

Total Fare:                                                                       $22.70



Booking 3

1 x Adult

Total Fare:                                                                       $64.32



Booking 4

1 x Adult

Total Fare:                                                                      $180.29



Other costs*

                                          6


                                                                                            80
                                       -140-
         Booking Fee:                                                                                  $13.95

         Total amount:                                                                               $477.04



                                      • Booking fees include UK VAT at 0%.
                                            VAT number 791 7261 06




                                       We're here to help Ll                I   I
                                              Have a question?

                                                row ,0 0 1 1r I

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                          Need a refund or want to change your ticl<et?



                                                                    I   I



                                    Please quote your Tran saction ID.



                                      0 9 2 0 6 1 36 16 7 9




Terms and Conditions
Our terms and conditions. SNCF condiUons of carriage and the CFF SBB conditions of carriage apply to this booking

Tralnllne Group
You have been sent this email by the Trainline Group

The T rainline Group consists of:


     •     Trainline com Limited (company number 3846791) whose registered office is at 120 Holborn, London, EC1N
           2TD; VAT number 791 7261 06
     •     Trainline SAS (RCS Paris 512 277 450) operates under the name Trainline and is domiciled at 20 rue Saint-
           Georges, 75009 Paris with a registered capital of 118 513.94 Euros. The company Is registered under
           IM078100022 with the commercial trade authority at 79-81 , rue de Clichy, 75009 Paris· VAT number FR 58 512
           277 450.




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                                                                                                                                               •
                                                                                                                                               I
                                                                                Booking : QMNFEL
                                                                                Last Name : PAGE
                                                                                First Name : PAGESTUART ROBERT
                                                                                Traveller : ADULTE
                                                                                Customer reference number :0029090161221722259




12h55
   01h46
            I
SUNDAY, DECEMBER 1st 2019

               PARIS EST
               TGV INOUI 2421 • 1st class
               Car 13              Place   71
                                                                                E-ticket no. ; 846266433
                                                                                Price; 169,40 EUR


                                                                                Brought on ; TRAINLINE032



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               lsolee solo
                                                                                           READY? GET ON BOARD!
 14h41         STRASBOURG
   1O min      Connection
                                                                                         I'll print out my ticket or download it in the
 14h51         STRASBOURG
               TER 96223 - 1st class
                                                                                    D    SNCFapp
                                                                                         I won't forget to tag my luggage, since it's
   01h18       Car                                                                  D    mandatory
                                                                                         I'll go to the boarding area and scan my ticket
16h09          BASEL SBB
                                                                                    D    directly on the gate reader or via a ticket
                                                                                         inspector's reader
                                                                                         I'll board the train no later than 2 min. before
                                                                                    D    departure. After this time acces to the train will
                                                                                         be forbidden
                                                                                         I'll take mi ID (original and valid) and travelcard
                                                                                    D    in case of check at the platform and/or on board




GOOD TO KNOW
How do you use this ticket?
E-tickets are nominative, private, non-transferable and valid only on
the designated train, date, class and journey.

A mishap? Need to change your ticket?
> TGV INOUI 2421                                                    JR11
 BILLET ECH/REMB SOUS CONDITIONS - VALABLE SUR CE TRAIN




> TER 96223                                                         JR1 1
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You can obtain more Info about changing your ticket at an
authorized SNCF travel agent, in a station, in a shop or by phone
on 3635 ( 0,40€/TTC/min )
What guarantee in case of delay ?
You will benefit from the G30 guarantee on TGV and INTERCITES.
More Information on g30.sncf.com or SNCF app



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                                                                            -142-
 iKm SBB CFF FFS                                                                                                        Ticket-ID 441771680391
                                    Supersaver Ticket                                                                   PAGE PAGESTUART ROBERT


  Valid : 2019                                                                                                          03.04.1951
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  via Olten           *****

  Only valid for: IC1079

   Full fare                                                                                                                              CHF 21.60
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  Order no.: 525820292                                                             incl. 7.70% VAT/SBB
omBasel SBB dep 01.12.201916:31
       arr01.12.201917:24




  Special conditions:
  - only valid for the train/day specified In the booking
  - class upgrades or route changes are not possible

  The current tariff of Swiss transport companies, In particular the common ancillary tariff regulations for direct
  service and regional transport networks (T600) es well as the tariffs of the regional transport and fare networl<s,
o   ply to the use of E-Tickets.


  Extract:


  - E-Tickets ere personal and not transferable. The ticket has to be presented to the control staff along with an
  official Identity document and/ or with any discount card.
  • For refunds, the tariff 600.9 or the tariffs of regional transport and fare networks apply.


                                                                                       Reference nr.: 90338420 / 28111822 19699 © SBB AG 0104.08 WSB2P




                                                                                                                                                     83
                                                                               -143-
YOUR E-TICKET CONFIRMATION
  BASEL SBB / PARIS GARE LYON


Surname:    PAGE                                                                          BOOKING FILE REFERENCE : QMNFCH
First Name: PAGESTUART ROBERT                                                             Customer reference number :                           0029090161181722257
Passenger:               ADULTE                                                           E-ticket number :                                     846266282




  Departure / Arrival                                                   Date/ Time                                  TRAIN                              ECHIREMB SOUS CONDITIONS
                                                                                                          TRAIN NUMBER 9222
   BASEL SBB                                                        04/12 at 14h34
                                                                                                   VOITURE 12- PLACE 34
                                                                                                         1st CLASS/ PLACE ASSISE
   PARIS GARE LYON                                                  04/12 at 17h37                            FENETRE CLUB 4
                                                                                                        A UTILISER DANS CE TRAIN                       E-llckot ovallable only for lhl• train

You must bo aboard at lhu lotoal 2mn prior lo tho doparturo limo.




To calculato the groonl1ouso gasos gonoratod by your Joumoy, go to sncf.com or tho SNCF app
You bought your E-tickol in a travel agency : TRAINLINE032.

SNCF wish you a pleasant journey !




PAS DE COMPOSTAGE. PRENEZ PLACE DIRECTEMENT A BORD DE VOTRE TRAIN.                                                 THIS E-TICKET CONFIRMATION DOES NOT REQUIRE TO BE PUNCHED.
CONDITIONS 0'UTILISATION DU E-BILLET( 1)                                                                           E-TICKET CONDITIONS OF USE'''
NOMINATIF, PERSONNEL ET INCESSIBLE.                                                                                NOMINATIVE, PERSONAL AND NON TRANSFERABLE.
Valable unlquement pour le train, la date, la classe et le parcours d~sign~s.                                      Valid only for the tram, date, class and journey selected
Celle confirmation e-billet :                                                                                      To be valid, thi s e-t icket confirmation:
• dolt obllgatolrement etre accompagnee d'une pl~ce d'ldentlte"'•                                                  • Must be presented with a valld ID with photoin.
• dolt etre presentee tors du contr61e ou II l'ncces au train,                                                     • Must be presented upon request at the lime o f ticket inspection or boarding the train.
• dolt ~Ire imprim6e de l>onne qualite sur du papler A4 blanc, sans modification                                   • Must be printed out on while A4 paper, without changin g print size. Good print
  de la tallle d'lmpression,                                                                                         quality is required.
• peut etre relmprimee en gare si besoln.                                                                          • Can be printed again at the Station.

COMMENT GERER MA RESERVATION?                                                                                      HOW TO MANAGE MY BOOKING?
Vous souhaltez echanger ou annuler votre e-billet. SI votre tarif le permet, cela est                              Your journey can easily be cancelled or exchanged at your convenience in
possible Jusqu'au depart du train.                                                                                 accordance with the fare conditions, until the train departure time.
• par telephone : au 098 098 3635 depuis la France (service graluit + prix d'un appel                              • By phone on 00 33 092 35 35 35 (calls are charged al inlemational rates plus your
  local) el au +33 (0) 892 35 35 35 depuis l'~lranger (coot d'un appel international.                                operator's surcharge, where applicable)
  hors surcoOI eventuel de votre op~raleur)                                                                        • Al French Stations ticket desks and vendilig machines
• aux guichels ou sur les bornes en gores el boutiques SNCF (en France) ou en agences                              before departure
  de voyages agrMes SNCF                                                                                           You must be aboard al the latest 2mn prior lo the departure
Presence a quai obligatoire 2 minutes avant l'heure de d~part. Au-dela de ce d~lai, l'acc~s                        lime. beyond which access to the train cannot be
au train n'esl plus garanti.                                                                                       guaranteed.
Nous vous rappelons que l'~liquelage des bagages avec mention de votre nom et pr~nom                               We remind you that labelling luggages with your full name
esl obligaloire.                                                                                                   is mandatory
(I) En cas do non-,especl do ces rdglcs J'E-billcl esl consJd6rC comme non voloble el SNCF esr en droit            (1} THEE TICKET WILL NOT BE VAUD IF THESE CONDITIONS ARE
d'exigerla fegularisalion du titre de transpol1 sur la base du UJril mar/mum exigiblc pour ta prestation foumte.   NOT FULLFILLED ond SNCF he• th• righr to require the peiomenl of
(2) Corle d~·ctcnlit~. passepo1t, permis da condwrc ou cart~ de s~Jour en cours de volidit6 ct nvec photo.         the fu!I tare sppltcable 10 the lroin in which you arc travelling (cl Tsn·ts
                                                                                                                   Voyageurs). (2) ldonliry C8rd, pa$Sport or rcsfdent permit.


                                                                                                                                                                                                  l'ago : 11   ·a4
                                                                                                              -144-
Caroline Timberlake

From:                         Hotel Le 123 Elysees - Astotel <no-reply@availpro.com >
Sent:                         25 November 2019 09:37
To:                           Stuart Page
Subject:                      Booking confirmation - Reference: RWH1ZC - Hotel Le 123 Elysees - Astotel




           Your booking is confirmed

            Reference RWH1 ZC

            Dear Mr. Stuart Page,

            Thank you for choosing Hotel Le 123 Elysees - Astotel for your stay from
            Wednesday, December 4 , 2019 to Thursday, December 5, 2019. We look forward
            to welcoming you for your stay.




           Hotel Le 123 Elysees - Astotel




            Hotel information




                                                   -145-
 Hotel Le 123 Elysees - Astotel               Send email to hotel
 123 rue du Faubourg St Honore
                                              Phone: +33(0) 1 53 89 01 23
 75008 Paris
                                              Visit website
 Get directions




 Guest name                                                             Stuart Page


  Number of guests                                                            1 adult


 Your booking                                                        1 night, 1 room


  Check-in (from 14:00)                                Wednesday, December 4, 2019


  C heck-out (until 12:00)                               Thursday, December 5, 2019


 Total price                                                                   € 231




Booking details

 1   x Double room - Superior                                                  € 231
 Breakfast included

 Room with breakfast - Non-refundable

 Night 1 • Wednesday, December 4, 20 19                                         € 23 1



 Price of the booking                                                          € 231



  Total amount to be paid                                                   € 233.88

 Inc luding taxes to be paid at the hotel                                      € 2.88
     Stay Tax (€ 2.88)                                                          € 2.88




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Payment
Deposit amount                                                                      € 231

           The balance of € 2.88 is payable upon arrival at the hotel.
    The credit card used to pay the deposit must be presented on arrival.




Special requests
Check-in time (estimated) 5:00 PM




Cancellation Policy

Double room - Superior

As soon as the booking is made, 100% of the booking amount is charged and non-
refundable.


Special sales and cancellation terms and conditions

Prepayment by credit card, of the total cost of the stay, will be required at the
time of the reservation.
The amount paid at the time of the reservation is not refundable, even in the case
of cancellation or modification of the reservation.
Virtual credit cards are not accepted.
The credit card used to pay the deposit, as well as the credit card holder's ID
card, must be presented to reception on arrival at the hotel.
For security reasons, if the aforementioned details cannot be provided, the
beneficiary of the reservation must pay the total amount of the stay on arrival at the
hotel. The credit card initially used at the time of the reservation will then be
credited with the amount previously charged to it.
If your stay is to be settled by a third party, please contact us: a credit card
authorisation form will be sent to him/her. The third party must return the
completed credit card authorisation form to us, along with copies of the front and
back of his/her ID card and his/her credit card .
Offer cannot be combined with other current offers and/or benefits.
Special conditions may apply for reservations of more than 5 rooms.




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                            Modify/ Cancel this booking

                                    Pin code: 6677 1




Your rooms

1 x Double room - Superior

1 x Double bed - 2 people
Our very pleasant Superior Double rooms have a 200x200 bed, a bathroom with a
bathtub or a shower, a mini-bar, free and unlimited Wi-Fi access, bathrobe and
slippers. For your comfort and convenience, an in-room courtesy tray is also provided
for you to use free of charge.

Services

Air conditioning - Minibar - Soundproofed - Safe - Telephone - Private bathroom - Hair
dryer - Shower - Bath - Flatscreen TV - Wireless Internet access - Radio -Alarm


Traveller(s)

Double room - Superior - 1

Mr. Stuart Page




Your rate
All year long, enjoy a reduction of 10% to 15% on our As tote I flexible rate by
prepaying your reservation directly when booking on line.
Select the "Prepaid rate" when booking you stay on our website.


This offer includes:


    •   The accommodation
    •   Full buffet breakfast
    •   Free and unlimited Wi-Fi access
    •   Soft beverages from the in-room minibar offered
    •   Complimentary open bar with soft drinks every afternoon




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                                                                                         88
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Caroline Timberlake

From:                      Air France <admin@service-airfrance.com >
Sent                       04 December 201912:59
To:                        Stuart Page
Subject:                   Booking confirmed - Paris-London on 12/05/2019




                                        MY BOOKING
                                            Dear Mr Page ,
                           This is the confirmation e-mail for your booking.
                       Find your trip details in the My Bookings area on our site.




      YOUR FLIGHT DETAILS

           PARIS (COG) - LONDON (LHR)


             THURSDAY,          ~
             DECEMBER 5                13h20 Aeroport Charles de Gaulle -Terminal 2E
                                       Flight AF1780 - Operated by Air France
               BUSINESSI               Check-in Deadline: 12h40



                                       13h45 Heathrow Airport-Terminal 4
                                 •




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                                       REVIEW YOUR FLIGHT DETAILS




PASSENGER(S)

 Stuart Page                                                                                      Ticket: 2 128 Miles
                                                                                             ►   Create your account

 The number of Miles indicated applies to your ticket and any Options purchased




PAYMENT


                               Total (not including tax):        455.00 GBP

                                                   Taxes:         34.50 GBP



                                             Total:     489.50 GBP                                Paid by Amex
 The change and refund conditions for a flight are applicable if the request is made before lhe night's scheduled
 departure.

 One-way : Paris - London

 Change before departure of the 1st flight
 Allowed at no charge

 Refund before departure of the 1st flight
 Allowed at no charge

 Refund after departure of the 1st flight
 Allowed at no charge




                            YOUR SERVICES AND OPTIONS




                                                            2


                                                                                                                        90
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